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 8                        UNITED STATES DISTRICT COURT
 9                     CENTRAL DISTRICT OF CALIFORNIA
                                            ) Case No.
10
     TERRY FABRICANT, individually          )
11   and on behalf of all others similarly  ) CLASS ACTION
     situated,                              )
12
                                            ) COMPLAINT FOR VIOLATIONS
13   Plaintiff,                             ) OF:
14                                          )
            vs.                             )    1. NEGLIGENT VIOLATIONS
15                                                     OF THE TELEPHONE
                                            )          CONSUMER PROTECTION
16   FIRST UNION LENDING LLC, and )                    ACT [47 U.S.C. §227(b)]
     DOES 1 through 10, inclusive, and each )    2.    WILLFUL VIOLATIONS
17                                                     OF THE TELEPHONE
     of them,                               )          CONSUMER PROTECTION
18                                          )          ACT [47 U.S.C. §227(b)]
19   Defendant.                             )
                                            )
20                                          ) DEMAND FOR JURY TRIAL
21                                          )
                                            )
22
                                            )
23                                          )
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                                            )
                                            )
25                                          )
26                                          )
                                            )
27
           Plaintiff TERRY FABRICANT (“Plaintiff”), individually and on behalf of
28



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 1   all others similarly situated, alleges the following upon information and belief
 2   based upon personal knowledge:
 3                                 NATURE OF THE CASE
 4           1.      Plaintiff brings this action individually and on behalf of all others
 5   similarly situated seeking damages and any other available legal or equitable
 6   remedies resulting from the illegal actions of FIRST UNION LENDING LLC
 7   (“Defendant”), in negligently, knowingly, and/or willfully contacting Plaintiff on
 8   Plaintiff’s cellular telephone in violation of the Telephone Consumer Protection
 9   Act, 47. U.S.C. § 227 et seq. (“TCPA”), thereby invading Plaintiff’s privacy.
10                                JURISDICTION & VENUE
11           2.      Jurisdiction is proper under 28 U.S.C. § 1332(d)(2) because Plaintiff,
12   a resident of California, seeks relief on behalf of a Class, which will result in at
13   least one class member belonging to a different state than that of Defendant, a
14   Florida limited liability company. Plaintiff also seeks up to $1,500.00 in damages
15   for each call in violation of the TCPA, which, when aggregated among a proposed
16   class in the thousands, exceeds the $5,000,000.00 threshold for federal court
17   jurisdiction. Therefore, both diversity jurisdiction and the damages threshold under
18   the Class Action Fairness Act of 2005 (“CAFA”) are present, and this Court has
19   jurisdiction.
20           3.      Venue is proper in the United States District Court for the Central
21   District of California pursuant to 28 U.S.C. 1391(b) because a substantial portion
22   of the events giving rise to the claim occurred in this District.
23                                          PARTIES
24           4.      Plaintiff, TERRY FABRICANT (“Plaintiff”), is a natural person
25   residing in Winnetka, California and is a “person” as defined by 47 U.S.C. § 153
26   (39).
27           5.      Defendant, FIRST UNION LENDING LLC (“Defendant”) is
28   business lending company, and is a “person” as defined by 47 U.S.C. § 153 (39).


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 1         6.     The above named Defendant, and its subsidiaries and agents, are
 2   collectively referred to as “Defendants.” The true names and capacities of the
 3   Defendants sued herein as DOE DEFENDANTS 1 through 10, inclusive, are
 4   currently unknown to Plaintiff, who therefore sues such Defendants by fictitious
 5   names. Each of the Defendants designated herein as a DOE is legally responsible
 6   for the unlawful acts alleged herein. Plaintiff will seek leave of Court to amend the
 7   Complaint to reflect the true names and capacities of the DOE Defendants when
 8   such identities become known.
 9         7.     Plaintiff is informed and believes that at all relevant times, each and
10   every Defendant was acting as an agent and/or employee of each of the other
11   Defendants and was acting within the course and scope of said agency and/or
12   employment with the full knowledge and consent of each of the other Defendants.
13   Plaintiff is informed and believes that each of the acts and/or omissions complained
14   of herein was made known to, and ratified by, each of the other Defendants.
15                              FACTUAL ALLEGATIONS
16         8.     Beginning in or around May 2018, Defendant contacted Plaintiff on
17   Plaintiff’s cellular telephone number ending in -1083, in an attempt to solicit
18   Plaintiff to purchase Defendant’s services.
19         9.     Defendant contacted or attempted to contact Plaintiff from telephone
20   numbers (352) 405-5019 and (352) 405-5020.
21         10.    Defendant used an “automatic telephone dialing system” as defined
22   by 47 U.S.C. § 227(a)(1) to place its calls to Plaintiff seeking to solicit its services.
23         11.    Defendant’s calls constituted calls that were not for emergency
24   purposes as defined by 47 U.S.C. § 227(b)(1)(A).
25         12.    The telephone number that Defendant, or their agent, called was
26   assigned to a cellular telephone service for which Plaintiff incurs a charge for
27   incoming calls and messages pursuant to 47 U.S.C. § 227 (b)(1).
28         13.    During all relevant times, Defendant did not possess Plaintiff’s “prior


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 1   express consent” to receive calls using an automatic telephone dialing system or an
 2   artificial or prerecorded voice on his cellular telephone pursuant to 47 U.S.C. §
 3   227(b)(1)(A).
 4         14.      These telephone calls by Defendant, or its agents, violated 47 U.S.C.
 5   § 227(b)(1).
 6                                CLASS ALLEGATIONS
 7         15.      Plaintiff brings this action individually and on behalf of all others
 8   similarly situated, as a member of the proposed class (“The Class”). The Class is
 9   defined as follows:
10
                    All persons within the United States who received any
11                  solicitation/telemarketing   telephone   calls    from
12                  Defendant to said person’s cellular telephone made
                    through the use of any automatic telephone dialing
13
                    system or an artificial or prerecorded voice and such
14                  person had not previously consented to receiving such
15
                    calls within the four years prior to the filing of this
                    Complaint
16
17         16.      Plaintiff represents, and is a member of, The Class, consisting of all
18   persons within the United States who received any solicitation telephone calls from
19   Defendant to said person’s cellular telephone made through the use of any
20   automatic telephone dialing system or an artificial or prerecorded voice and such
21   person had not previously not provided their cellular telephone number to
22   Defendant within the four years prior to the filing of this Complaint.
23         17.      Defendant, its employees and agents are excluded from The Class.
24   Plaintiff does not know the number of members in The Class, but believes the
25   members number in the thousands, if not more. Thus, this matter should be
26   certified as a class action to assist in the expeditious litigation of the matter.
27         18.      The Class is so numerous that the individual joinder of all of its
28   members is impractical. While the exact number and identities of The Class


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 1   members are unknown to Plaintiff at this time and can only be ascertained through
 2   appropriate discovery, Plaintiff is informed and believes and thereon alleges that
 3   The Class includes thousands of members.         Plaintiff alleges that The Class
 4   members may be ascertained by the records maintained by Defendant.
 5         19.    Plaintiff and members of The Class were harmed by the acts of
 6   Defendant in at least the following ways: Defendant illegally contacted Plaintiff
 7   and The Class members via their cellular telephones thereby causing Plaintiff and
 8   The Class members to incur certain charges or reduced telephone time for which
 9   Plaintiff and The Class members had previously paid by having to retrieve or
10   administer messages left by Defendant during those illegal calls, and invading the
11   privacy of said Plaintiff and The Class members.
12         20.    Common questions of fact and law exist as to all members of The
13   Class which predominate over any questions affecting only individual members of
14   The Class. These common legal and factual questions, which do not vary between
15   The Class members, and which may be determined without reference to the
16   individual circumstances of any members, include, but are not limited to, the
17   following:
18                a.    Whether, within the four years prior to the filing of this
19                      Complaint, Defendant made any telemarketing/solicitation call
20                      (other than a call made for emergency purposes or made with
21                      the prior express consent of the called party) to a member of
22                      The Class using any automatic telephone dialing system or any
23                      artificial or prerecorded voice to any telephone number
24                      assigned to a cellular telephone service;
25                b.    Whether Plaintiff and The Class members were damaged
26                      thereby, and the extent of damages for such violation; and
27                c.    Whether Defendant should be enjoined from engaging in such
28                      conduct in the future.


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 1         21.    As a person that received numerous telemarketing/solicitation calls
 2   from Defendant using an automatic telephone dialing system or an artificial or
 3   prerecorded voice, without Plaintiff’s prior express consent, Plaintiff is asserting
 4   claims that are typical of The Class.
 5         22.    Plaintiff will fairly and adequately protect the interests of the members
 6   of The Class. Plaintiff has retained attorneys experienced in the prosecution of
 7   class actions.
 8         23.    A class action is superior to other available methods of fair and
 9   efficient adjudication of this controversy, since individual litigation of the claims
10   of all The Class members is impracticable. Even if every member could afford
11   individual litigation, the court system could not. It would be unduly burdensome
12   to the courts in which individual litigation of numerous issues would proceed.
13   Individualized litigation would also present the potential for varying, inconsistent,
14   or contradictory judgments and would magnify the delay and expense to all parties
15   and to the court system resulting from multiple trials of the same complex factual
16   issues. By contrast, the conduct of this action as a class action presents fewer
17   management difficulties, conserves the resources of the parties and of the court
18   system, and protects the rights of each member of The Class.
19         24.    The prosecution of separate actions by individual members of The
20   Class would create a risk of adjudications with respect to them that would, as a
21   practical matter, be dispositive of the interests of the other members not parties to
22   such adjudications or that would substantially impair or impede the ability of such
23   non-party members to protect their interests.
24         25.    Defendant has acted or refused to act in respects generally applicable
25   to The Class, thereby making appropriate final and injunctive relief with regard to
26   the members of The Class as a whole.
27
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 1                             FIRST CAUSE OF ACTION
 2          Negligent Violations of the Telephone Consumer Protection Act
 3                                   47 U.S.C. §227(b).
 4                                 On Behalf of The Class
 5         26.    Plaintiff repeats and incorporates by reference into this cause of action
 6   the allegations set forth above at Paragraphs 1-25.
 7         27.    The foregoing acts and omissions of Defendant constitute numerous
 8   and multiple negligent violations of the TCPA, including but not limited to each
 9   and every one of the above cited provisions of 47 U.S.C. § 227(b), and in particular
10   47 U.S.C. § 227 (b)(1)(A).
11         28.    As a result of Defendant’s negligent violations of 47 U.S.C. § 227(b),
12   Plaintiff and The Class members are entitled to an award of $500.00 in statutory
13   damages, for each and every violation, pursuant to 47 U.S.C. § 227(b)(3)(B).
14         29.    Plaintiff and The Class members are also entitled to and seek
15   injunctive relief prohibiting such conduct in the future.
16                           SECOND CAUSE OF ACTION
17    Knowing and/or Willful Violations of the Telephone Consumer Protection
18                                           Act
19                                   47 U.S.C. §227(b)
20                                 On Behalf of The Class
21         30.    Plaintiff repeats and incorporates by reference into this cause of action
22   the allegations set forth above at Paragraphs 1-25.
23         31.    The foregoing acts and omissions of Defendant constitute numerous
24   and multiple knowing and/or willful violations of the TCPA, including but not
25   limited to each and every one of the above cited provisions of 47 U.S.C. § 227(b),
26   and in particular 47 U.S.C. § 227 (b)(1)(A).
27         32.    As a result of Defendant’s knowing and/or willful violations of 47
28   U.S.C. § 227(b), Plaintiff and The Class members are entitled to an award of


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 1   $1,500.00 in statutory damages, for each and every violation, pursuant to 47 U.S.C.
 2   § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).
 3         33.    Plaintiff and The Class members are also entitled to and seek
 4   injunctive relief prohibiting such conduct in the future.
 5
 6                                PRAYER FOR RELIEF
 7    WHEREFORE, Plaintiff requests judgment against Defendant for the following:
 8
 9                             FIRST CAUSE OF ACTION
10          Negligent Violations of the Telephone Consumer Protection Act
11                                   47 U.S.C. §227(b)
12                As a result of Defendant’s negligent violations of 47 U.S.C.
13                §227(b)(1), Plaintiff and The Class members are entitled to and
14                request $500 in statutory damages, for each and every violation,
15                pursuant to 47 U.S.C. 227(b)(3)(B).
16                Any and all other relief that the Court deems just and proper.
17
18                           SECOND CAUSE OF ACTION
19    Knowing and/or Willful Violations of the Telephone Consumer Protection
20                                           Act
21                                   47 U.S.C. §227(b)
22                As a result of Defendant’s willful and/or knowing violations of 47
23                U.S.C. §227(b)(1), Plaintiff and The Class members are entitled to
24                and request treble damages, as provided by statute, up to $1,500, for
25                each and every violation, pursuant to 47 U.S.C. §227(b)(3)(B) and 47
26                U.S.C. §227(b)(3)(C).
27                Any and all other relief that the Court deems just and proper.
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 1         34.    Pursuant to the Seventh Amendment to the Constitution of the United
 2   States of America, Plaintiff is entitled to, and demands, a trial by jury.
 3
 4
 5         Respectfully Submitted this 16th Day of October, 2020.
 6                              LAW OFFICES OF TODD M. FRIEDMAN, P.C.
 7
                                       By: /s/ Todd M. Friedman
 8                                         Todd M. Friedman
 9
                                           Law Offices of Todd M. Friedman
                                           Attorney for Plaintiff
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